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IN THE UNITED sTATEs I)ISTRICT COURTl t=n£t) B'v’ .Wr~ D~C'

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LECTROLARM CUSTOM
SYSTEMS, INC.,

Plaintirf,
v. No. 03-2330 Ma/An
VICON INDUSTRIES, INC., et al.,

Defendants.

 

ORDER GRANTING GE INTE.RLOGIX, INC.’S MOTION TO COMPEL
LECTROLARM TO PROVIDE ANSWERS TO GE’S REQUESTS
FOR ADMISSION NOS. 11-18

 

Before the Court is Defendant GE Interlogix, Inc.’s (“GE”) Motion to Compel Lectrolann
to Provide Answers to GE’s Requests for Admission Nos. 11-18 filed on March 11, 2005. For
the reasons set forth below, the Motion is GRANTED.

BACKGROUND

Plaintiff Lectrolarrn Custom Systems, Inc. (“Plaintiff” or “Lectrolarm”) initiated this
action against fourteen Defendants on May 8, 2003 alleging infringement by Defendants of a
patent owned by Plaintiff.l Service of process Was executed upon twelve of the fourteen
Defendants, and eight Defendants have since been dismissed by agreement of the parties. The

remaining four Defendants filed Answers to the Cornplaint and Counter-Claims.2 The Court

 

l United States Patent Number 4,974,088 (“the ‘088 patent") relates to a remote control apparatus for
regulating the rotation of a monitoring television camera in the horizontal and vertical directions

2 The remaining four Defendants are GE Interlogix, Inc., Vicon Industn`es, Inc., Sensormatic Electronics
Corporation and Bcsch Security Systems, Inc.

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entered a Rule l6(b) Scheduling Order on September 12, 2003. The instant motion deals only
with Defendant GE.

GE served Plaintiff With its Second Set of Requests for Admission on October 13, 2004,
which included eight requests numbered ll to 18. While Plaintiff responded to these requests on
November 19, 2004, Plaintiff refused to admit or deny all eight requests Plaintiff argued that
each request Was overly broad, vague, ambiguous, or unduly burdensome Plaintiff also argued
that the requests could not be answered because certain terms were left undefined by GE. In
February 2005, GE’s counsel contacted Plaintiff’s counsel and attempted to arrange and meet and
confer regarding the requests for admission; however, Plaintiff Was not receptive to GE’s
request.3 GE attempted to arrange another meet and confer; however, like the first attempt,
Plaintiff would not agree to the meeting As such, GE filed the instant motion.

Plaintiff responded to the instant motion on March 29, 2005 . In its Response, Plaintiff
argued that (l) GE’s motion is untimely, (2) GE did not consult With opposing counsel prior to
filing the instant Motion, and (3) Plaintiff properly objected to the discovery requests because GE
failed to define certain terms. GE filed its Reply Brief with the Court addressing the arguments
raised by Plaintiff in its Response.

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I. Timeliness of the Motioo
Plaintiff first argues that the instant Motion is untimely. The Local Rules for the Westem

District of Tennessee state that “[a]ll discovery shall be completed and all motions in connection

 

3When GE asked Plaintiff if they would be willing to meet and attempt to resolve this discovery dispute,
GE also asked Plaintiff if they would be willing to not raise a timeliness argument against GE if GE was required to
file a motion to compel. GE states that Plaintiff was not willing to agree to such a proposal

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with disputed discovery shall be filed no later than the dates designated in the Scheduling Order.”
Local Rule 26.l(c). Plaintiff argues that the close of` discovery in this action was set for January
18, 2005, and because the instant Motion was not filed until March ll, 2005, the Motion is
untimely and in violation of the Local Rules.

The Court’s initial Rule 16(b) Scheduling Order, entered by United States Magistrate
Judge James H. Allen on September 12, 2003, states that “[m]otions to compel discovery are to
be filed and served by the discovery deadline or within 30 days of the default or the service of the
response, answer, or objection, which is the subject of the motion, if the default occurs within 30
days of the discovery deadline . . . .” GE argues that when Plaintiff, on February ll, 2005,
refused to agree to meet and confer and attempt to resolve this discovery dispute, the thirty-day
time limit for GE to file a motion to compel began. Af’ter due consideration, the Court finds that
Plaintiff should respond to the Requests for Admission that are in dispute. It appears GE did
make a reasonable effort to resolve the dispute without court intervention, and while GE did not
file its Motion to Compel within the time limit established in the September 12, 2003 Scheduling
Order, there is no indication that the delay is prejudicial to Plaintiff.

A request for admission under Federal Rule of Civil Procedure 36 is a time-saving
device, designed to narrow the particular issues for trial. See Fed. R. Civ. P. 36 advisory
committee’s notes; see also United Coal Cos. v. Powell Constr. Co., 839 F.2d 958, 967 (3d Cir.
1988) (intemal citations omitted). “The purpose of Rule 36 . . . is to require admission of matters
which ought to be admitted, or which will not be disputed at the trial, so that the time, trouble
and expense required to prove them may be avoided.” Metropolitan Life Ins. Co. v. Carr, 169 F.

Supp. 377, 378 (D. Md. 1959). A request for admission “should be confined to facts that are not

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in material dispute.” United States v. Watchmakers of Switzerland Info. Cem‘., Inc., 25 F.R.D.
197, 201 (S.D.N.Y. 1959). Requests for admission should be capable of being answered by a yes
or no. See Johnstone v. Cronlund, 25 F.R.D. 42, 45 (D. Pa.1960).

“Parties may obtain discovery regarding any matter, not privileged, that is relevant to the
claim or defense of any party . . . .” Fed. R. Civ. P. 26(b)(l). Relevancy means that the evidence
“appears reasonably calculated to lead to the discovery of admissible evidence.” Fed. R. Civ. P.
26(b)(l); see also Coleman v. Am. Red Cross, 23 F.3d 1091, 1097 (6th Cir. 1994). The Court
should broadly interpret whether evidence is relevant. See Oppenheimer Fund, Inc. v. Sanders,
437 U.S. 340, 351 n.12 (1978). ln this Circuit, the scope of discovery is extremely broad under
the Federal Rules of Civil Procedure and “is . . . within the broad discretion of the trial court.”
Lewis v. ACB Busz'ness Servs. Inc., 135 F.3d 389, 402 (6th Cir. 1998). Speciflcally, the Court
may limit discovery where “the discovery sought is unreasonably cumulative or duplicative, or is
obtainable from some other source that is more convenient, less burdensome or less expensive.”
Fed. R. Civ. P. 26(b)(2).

As mentioned above, Requests for Admission are designed to narrow issues for trial, and
it is certainly possible that these Requests for Admission will serve that purpose. While the
Court has the authority to limit discovery, the Court finds that GE should be entitled to obtain
responses to the discovery requests Theref`ore, the Court concludes that Plaintiff should be
required to respond to the Requests for Admission.

II. Consultation of Counsel
Plaintiff next argues that the Motion should be denied because GE failed to consult with

opposing counsel as required by the Local Rule 7.2(a)(l)(B). However, the Court concludes that

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the parties engaged in sufficient consultation to satisfy the requirements of the Local Rules. Both
parties admit that some discussion regarding Requests for Admission Nos. l 1-18 took place, and
while the parties may not have reached accord or been particularly amenable to the opposing
parties’ position, the parties did undertake to resolve the dispute before seeking court
intervention For these reasons, the Motion should not be denied because of a failure to consult
with opposing counsel.
III. Objections to the Discovery Requests

Plaintiff finally argues that it properly objected to GE’s requests for admission because
the requests asked Plaintiff to admit or deny statements using certain terms that are still in
dispute and will remain in dispute until the Court rules on this matter’s claim construction
Plaintiff states that these terms include “shadow tour capability,” “automatic operation,”

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“autopan mode, storing means,” “random access memory,” “memory,” “teinporarily stored,”
and “written.” (See Resp. to Mot. to Compel, at 6). GE, on the other hand, argues that Plaintiff
should be able to respond to the discovery requests using the definitions it provides and
Plaintiff’ s own definitions for these terrns.

As discussed above, Requests for Admission are design to narrow the scope of issues for
trial, and the scope of discovery is considered extremely broad in this Circuit. Plaintiff correctly
points out in its Response that it is GE’s burden of “setting forth its request simply, directly, not
vaguely or ambiguously, and in such a manner that they can be answered with a simple admit or
deny without an explanation, and in certain instances, permit a qualification or explanation for

purposes of clarification.” Hemy v. Champlaz'n Emerprz`ses, Inc., 212 F.R.D. 73, 77 CN.D.N.Y.

2003). Additionally, Plaintiff references a previous Order from the Court noting that statements

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“in which one part of the question could be readily answered yes or no, whereas the remainder of
the question require[s] explanation,” are properly objectionable Johnstone v. Cronlund, 25
F.R.D. 42, 46 (D. Pa.l960). Nevertheless, the Court is not persuaded that the references terms
are so vague or open to inconsistent interpretations as to preclude Plaintiff from providing a
response

Plaintiff argues that its “hands are tied” and that it cannot admit or deny the requests
because the Court has not defined the aforementioned terms. However, many of the terms are
common to the industry, and it does not seem unreasonable for Plaintiff to respond before the
Court renders its Claim Construction. If Plaintiff concludes that its responses to Requests for
Admission Nos. ll-l 8 are materially affected after the Court renders its Claim Construction,
Plaintiff can supplement its responses Until then, Plaintiff should provide responses based upon
the definitions provided by the Def`endant, and if no definition is provided, then Plaintiff is free
to employ its own construction of the referenced terms.

CONCLUSION

For the reasons set forth above and for good cause shown, the Motion to Compel is
GRANTED. Plaintiff shall provide responses to GE’s Requests for Admission Nos. ll-lS
within ll days of entry of this Order,

IT IS SO ORDERED.

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S. THdMAS ANDERSON

UNITED ST S MAGISTRATE JUDGE

Date: 55 mr

 

UNITED STATES DiSTRICT COURT- WESE

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DISTRICT OF TENNESSEE

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David W. Whealan
Goodwin Procter LLP

599 Lexington Avenue
New York7 NY 10022

Paul F. Ware
GOODWIN PROC TER LLP

EXchange Place
Boston7 MA 02109--288

Albert L. Underhill
l\/IERCHANT & GOULD PC
80 S. Eighth St.

3200 lDS Center
l\/linneapolis7 MN 55402

Erik G. Swenson
l\/IERCHANT & GOULD PC
80 S. Eighth St.

3200 lDS Center
l\/linneapolis7 MN 55402

Michael J. Sweedler
DARBY & DARBY
805 Third Ave.

New York7 NY 10022

John C. Snodgrass

Dickstein Shapiro Morin & Oshinsky LLP
2101 L. Street, N.W.

Washington, DC 20037

Earle J. Schwarz
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

l\/lemphis7 TN 38103

Case 2:03-cv-02330-SH|\/|-cgc Document 426 Filed 08/08/05 Page 8 of 10 Page|D 754

Steven J. Nachtwey

BARTLIT BECK HERMAN PALENCHAR & SCOTT
54 W. Hubbard St.

Ste. 300

Chicago, IL 60610

John J. Mulrooney
CRONE & MASON, PLC
5100 Poplar Ave.

Ste. 3200

1\/lemphis7 TN 38137

Gianni Minutoli

DICKSTEIN SHAPIRO MORIN & OSHINSKY
2101 L Street7 N.W.

Washington, DC 20037--152

Alan E. Littmann

Bartlit Beck Herman Palenchar & Scott
Courthouse Place

54 West Hubbard Street

Suite 300

Chicago, IL 60610

Rachael Lea Leventhal

Dickstein Shapiro Morin & Oshinsky LLP
2101 L Street7 N.W.

Washington, DC 20037

Mark 1. Koffsky

GOODWIN PROC TER LLP
599 Lexington Ave.

New York7 NY 10022

Rachel C. Hughey
h/IERCHANT & GOULD PC
80 S. Eighth St.

3200 lDS Center
1\/linneapolis7 MN 55402

Gary M. Hoffman

DICKSTEIN SHAPIRO MORIN & OSHINSKY
2101 L Street7 N.W.

Washington, DC 20037--152

J ames Edward Hanft
DARBY & DARBY
805 Third Ave.

New York7 NY 10022

Case 2:03-cv-02330-SH|\/|-cgc Document 426 Filed 08/08/05 Page 9 of 10

Douglas F. Halijan

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/lemphis7 TN 38103

Lee A Goldberg
DARBY & DARBY
805 Third Ave.

New York7 NY 10022

Sean W. Gallagher

BARTLIT BECK HERMAN PALENCHAR & SCOTT
54 W. Hubbard St.

Ste. 300

Chicago, IL 60610

Laurence E. Fisher

DICKSTEIN SHAPIRO MORIN & OSHINSKY
2101 L Street7 N.W.

Washington, DC 20037--152

John C. Englander
GOODWIN PROC TER LLP
EXchange Place

Boston7 MA 02109--288

Kemper B. Durand

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main St.

Ste. 2900

1\/lemphis7 TN 38103--552

J. Anthony Downs
GOODWIN PROC TER LLP
EXchange Place

Boston7 MA 02109--288

Douglas C. Doskocil
GOODWIN PROC TER LLP
EXchange Place

Boston7 MA 02109--288

Dipu A. Doshi

DICKSTEIN SHAPIRO MORIN & OSHINSKY
2101 L Street7 N.W.

Washington, DC 20037--152

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Robert E. Craddock

WYATT TARRANT & COl\/IBS
P.O. Box 775000

1\/lemphis7 TN 38177--500

Kenneth Brothers

DICKSTEIN SHAPIRO MORIN & OSHINSKY
2101 L Street7 N.W.

Washington, DC 20037--152

Rebecca W. Bacon

BARTLIT BECK HERMAN PALENCHAR & SCOTT
54 W. Hubbard St.

Ste. 300

Chicago, IL 60610

DeAnna Allen

DICKSTEIN SHAPIRO MORIN & OSHINSKY
2101 L Street7 N.W.

Washington, DC 20037--152

Honorable Samuel Mays
US DISTRICT COURT

